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16                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF ARIZONA
17
18
     The Church of The Eagle and the Condor, et al,      Case No. 2:22-cv-01004-PHX-SRB
19
                          Plaintiffs,                    MOTION TO INCORPORATE
20          v.                                           SETTLEMENT AGREEMENT IN
21                                                       ORDER AND FOR RETENTION
     Merrick Garland, et al.,                            OF JURISDICTION
22
23                        Defendants.                    Oral Argument Requested

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 1          Plaintiffs, The Church of the Eagle and the Condor, an Arizona Religious
 2   Corporation, on its own behalf and on behalf of its members, Joseph Tafur, M.D.,
 3   individually and as Spiritual Leader of The Church of the Eagle and the Condor, Belinda
 4   Eriacho, M.P.H., Kewal Wright, Benjaman Sullivan, and Joseph Bellus, (Plaintiffs) hereby
 5   respectfully move this Court for an Order requiring the parties to comply with the
 6   Settlement Agreement that they have executed and to retain jurisdiction to enforce the
 7   Settlement Agreement according to its terms. This Motion is supported by the
 8   accompanying Memorandum of Points and Authorities.
 9                   MEMORANDUM OF POINTS AND AUTHORITIES
10   I.     INTRODUCTION
11          In its Order (Doc. 69) of July 30, 2024, this Court concluded that Plaintiffs satisfy
12   two of the three requirements for settlement agreements: that it reflected a “material
13   alteration of the legal relationship between the parties” and “actual relief on the merits of
14   [the plaintiff’s] claims,” but that it does not meet the “judicial enforcement” criterion (Doc.
15   69, at 2) (citing La Asociacion de Trabajadores de Lake Forest v. City of Lake Forest, 624
16   F. 3d 1083, 1089 (9th Cir. 2010), quoting Saint John’s Organic Farm v. Gem Cnty.
17   Mosquito Abatement Dist., 574 F. 3d 1054, 1059 (9th Cir. 2009)). This Motion is intended
18   to establish that Defendants have agreed to the objectives of this Motion, that none of the
19   grounds for judicial refusal to approve a settlement agreement applies to this case, and that
20   incorporation of the Settlement Agreement into an Order and retention of jurisdiction are
21   essential terms of the Settlement Agreement without which the Parties have no Agreement.
22   II.    DEFENDANTS HAVE IMPLICITLY AGREED TO THE OBJECTIVES OF
23          THIS MOTION
24          Plaintiffs and Defendants have always agreed that the Settlement Agreement would
25   be judicially enforceable, 1 and the terms of the Settlement Agreement explicitly provide
26
27
28          1
             This Court also acknowledges that the Settlement Agreement is judicially
     enforceable. Doc. 69, at 2.
                                                   1
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     for judicial enforcement. See Settlement Agreement, Doc. 51-2, at ¶¶ 59, 86, 88, 91. 2
 1
            Moreover, the Parties have agreed to enforcement of the Settlement Agreement by
 2
     this Court. Doc 51-2, at ¶ 86 (“the Parties agree that jurisdiction is retained by and venue
 3
     is proper in the United States District Court for the District of Arizona”). Given these
 4
     provisions, it is clear Defendants have already agreed to the objective of this Motion – that
 5
     the settlement is judicially enforceable and binding.
 6
            Incorporation of the Settlement Agreement into an Order clearly satisfies the
 7
     requirement of Kokkonen v. Guardian Life Insurance Company of America, 511 U.S. 375
 8
     (1994) (explaining in contrast to the present case that “The Stipulation and Order did not
 9
     reserve jurisdiction in the District Court to enforce the Settlement Agreement; indeed, it
10
     did not so much as refer to the settlement agreement”). The Defendants should not be heard
11
     to object to that to which they have already agreed. Saint John’s Organic Farm, 574 F. 3d
12
     1054, 1059 (9th Cir. 2009) (“The Agreement specifically provided that its terms would be
13
     enforceable by the district court”).
14
            Defendants attempt to relegate Plaintiffs’ position to a mere contractual party and
15
     the Settlement Agreement to a purely private settlement. Doc. 59, at 11. Kokkonen, at 381,
16
     however, distinguished such private agreements from “dismissal-producing settlement
17
     agreements.” The distinction was explicated further by Carbonell v. I.N.S., 429 F. 3d 894,
18
     901 (9th Cir. 2005): “A court’s responsibility to ensure that its orders are fair and lawful
19
     stamps an agreement that is made part of an order with judicial imprimatur” (quoting Smyth
20
     v. Rivero, 282 F. 3d 268, 282 (4th Cir. 2002).
21
            Courts have inherent power to enforce settlements in cases pending before them.
22
     Dacanay v. Mendoza, 573 Fd 1075, 1078 (9th Cir. 1978); Roman-Oliveras v. Puerto Rico
23
     Elec. Power Auth., 797 F. 3d 83, 86 (1st Cir. 2015); Hensley v. Alcoa Labs, Inc., 277 F.3d
24
25
26          2
              This Court’s Order, Doc. 69, at 2, quotes Defendants’ Response (Doc. 59, at 10),
     stating “Plaintiffs and Defendants ‘agreed that neither side was admitting or conceding
27   they prevailed when they settled the case.’” The Court adopted this mischaracterization of
     the Agreement. There is no such agreement to this proposition anywhere in the Settlement
28   Agreement.
                                                   2
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     535, 540 (4th Cir. 2002). So long as the pleadings state a claim within federal subject matter
 1
     jurisdiction and the settlement is “within the general scope of the case made by the
 2
     pleadings,” the judgment can grant whatever relief is agreed to by the parties. Sansom
 3
     Comm. v. Lynn, 735 F. 2d 1535, 1538 (3d Cir. 1984). The gravamina of the Complaint
 4
     were hardly “barely colorable claims,” as Defendants suggest, Doc. 59, at 8, and, if they
 5
     were, Defendants surely would not have suggested settlement. The Settlement Agreement
 6
     furthers “the objectives upon which the complaint was based,” Frew v. Hawkins, 540 U.S.
 7
     431, 437 (2004).
 8
     III.   NONE OF THE GROUNDS FOR JUDICIAL REFUSAL TO APPROVE A
 9
            SETTLEMENT AGREEMENT APPLIES TO THIS CASE
10
            Plaintiffs acknowledge that this Court is authorized though not required to
11
     “embody” a settlement agreement into a dismissal order pursuant to Fed. R. Civ. Proc.
12
     41(a)(1). Doc. 69, at 4 n.1. Plaintiffs are not seeking a dismissal here. The Settlement
13
     Agreement is one that this Court would approve. United States v. Int’l Bhd. Of Teamsters,
14
     970 F. 2d 1132, 1137 (2d Cir. 1992); In re Masters Mates & Pilots Pension Plan, 957 F.
15
     2d 1020, 1026 (2d Cir. 1992).
16
            The criteria that apply to whether there should be judicial approval of a proposed
17
     Order are whether it is “fair, adequate, and reasonable, as well as consistent with the public
18
     interest.” United States v. Lexington Fayette Urban County Gov’t, 591 F. 3d 484, 489 (6th
19
     Cir. 2010). See also United States v. City of Miami, 664 F.2d 434, 440 n. 13 (5th Cir. 1981)
20
     ("The trial court in approving a settlement need not inquire into the precise legal rights of
21
     the parties nor reach and resolve the merits of the claims or controversy, but need only
22
     determine that the settlement is fair, adequate, reasonable and appropriate under the
23
     particular facts and that there has been valid consent by the concerned parties. Objectors
24
     must be given reasonable notice and their objections heard and considered"). There is no
25
     basis to conclude that Plaintiffs and Defendants object to the Settlement Agreement on any
26
     of these or on any other grounds. With respect to the public interest, the Settlement
27
     Agreement vindicates civil rights and furthers judicial economy.
28
                                                   3
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            An equitable decree compelling obedience is an injunction within Rule 65(d). Int’l
 1
     Longshoremen’s Ass’n v.Phil.Marine Trade Ass’n, 389 U.S. 64, 75 (1967); therefore, the
 2
     agreement and court Order enforcing it must meet the requirements of Rule 65(d) for
 3
     injunctive relief. The Settlement Agreement meets these requirements because it describes
 4
     in reasonable detail the specific conduct to be enjoined and the reasons for issuing the
 5
     injunction. William Keeton Enters., Inc. v. A All Am. Strip-O-Rama, Inc., 74 F. 3d 178, 182
 6
     (9th Cir. 1996) (per curiam). An injunctive Order binds the party against whom it is entered
 7
     -- as well as that party’s officers, agents, servants, employees, and attorneys. Fed. R. Civ.
 8
     P. 65(d). People who act in concert or otherwise participate with the party will be bound
 9
     as well. Fed. R. Civ. P. 65(d)(2)(C); Portland Feminist Women’s Health Ctr. V. Advocates
10
     for Life, Inc., 859 F. 2d 681, 684, 687 (9th Cir. 1988).
11
            This Settlement Agreement is not an “unaccepted settlement offer.” Diaz v. First
12
     Am. Home Buyers Prot. Corp., 732 F. 3d 948, 954 (9th Cir. 2013). There is no question as
13
     to its terms because it was put in writing. Lynch v. Samata Mason, Inc., 279 F. 3d 487,
14
     489-90 (7th Cir. 2002) (magistrate judge’s recollection of terms of oral settlement sufficient
15
     for enforcement). Because the Settlement Agreement is in written form, there is no
16
     question whether it is a completed agreement or whether the parties intended to be bound
17
     by its terms. Wang Labs., Inc. v. Applied Computer Scis., Inc., 958 F. 2d 355, 359 (Fed.
18
     Cir. 1992).
19
            “It is well-settled that a district court has the equitable power to enforce summarily
20
     an agreement to settle a case pending before it.... Where material facts concerning the
21
     existence or terms of an agreement to settle are in dispute, the parties must be allowed an
22
     evidentiary hearing.” Callie v. Near, 829 F. 2d 888, 890 (9th Cir. 1987). The Court should
23
     inform the parties of any concerns regarding a proposed settlement agreement and give
24
     them an opportunity to address them. FTC v. Enforma Natural Prods., Inc., 362 F. 3d 1204,
25
     1218 (9th Cir. 2004). Plaintiffs do not believe that there are any terms in dispute, but the
26
     Defendants seem to dismiss the fact that “the parties have agreed that this Court will retain
27
28   jurisdiction to enforce the Settlement Agreement” (Doc. 59, at 11, referring to ¶ 91.c) and

                                                   4
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 1   belittle it as a “run-of-the-mill dispute-resolution provision.” Ibid. It is to this provision

 2   and to others that contemplate the Court’s imprimatur that we now turn.

 3   IV.    INCORPORATION             INTO      AN     ORDER       AND      RETENTION          OF

 4          JURISDICTION ARE ESSENTIAL TERMS OF THE SETTLEMENT

 5          AGREEMENT

 6          As referenced above, there are several essential provisions in the Settlement

 7   Agreement that contemplate this Court’s oversight and jurisdiction. Plaintiffs have

 8   attempted to minimize the Court’s involvement as much as possible because counsel

 9   realize that there is only judicial economy in the settlement of a case if the Court spends

10   less time on it on enforcement questions than if it were to go to trial. Consequently, the

11   Court’s oversight is only triggered after mediation fails.

12         Enforcement by this Court is reflected in three provisions of the Settlement

13   Agreement. They provide as follows (Doc. 51-2):

14          ¶ 86: “Venue and Jurisdiction: The parties agree that any dispute arising between

15   and among the parties to this Agreement shall be resolved pursuant to the dispute resolution

16   procedures specified in Article IX of this Agreement. If such procedures do not resolve

17   the dispute, the parties agree that jurisdiction is retained by and venue is proper in the

18   United States District Court for the District of Arizona for its resolution.”

19          This provision is a recognition that questions that arise under the Religious Freedom

20   Restoration Act of 1993 must ultimately be judicially decided if rights under the statute are

21   not respected. “(c) Judicial relief. A person whose religious exercise has been burdened in

22   violation of this section may assert that violation as a claim or defense in a judicial

23   proceeding and obtain appropriate relief against a government.” § 2000bb-1. Moreover,

24   this provision of the Settlement Agreement ensures that this Court resolve disputes under

25   the Agreement, not the Court of Claims or some other court, as Defendants suggest (Doc

26   59, at 11). Plaintiffs never agreed to transform the settlement of this case into a simple

27   contract, and it is very clear that Plaintiffs deem retention of jurisdiction by this Court of

28   utmost importance.

                                                   5
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            ¶ 88: “Once this Settlement Agreement is signed by the Parties, the Parties will file
 1
     a Notice of Settlement with the Court. After filing the Notice of Settlement, the parties
 2
     have 60 days to negotiate attorneys’ fees and costs. If, after 60 days, the Parties have not
 3
     come to an agreement on attorneys’ fees and costs, that issue will be submitted to the Court
 4
     on a motion by Plaintiffs. Should such a motion be necessary, nothing in this Agreement
 5
     shall preclude either party from attaching this Settlement Agreement to the Motion.”
 6
            It has always been clear to Plaintiffs that Defendants intended to pay attorneys’ fees
 7
     and costs, and several documents reflect that, including this provision of the Settlement
 8
     Agreement. For the first time, in their Opposition to Plaintiffs’ Motion for Attorneys’ Fees
 9
     (Doc. 59, at 7), Defendants revealed their position that “Plaintiffs are not entitled to any
10
     fees.” This brings to mind what Judge Kozinski said in Golden v. Emergency Physicians
11
     Medical Group, 782 F. 3d 1083, 1092 (9th Cir. 2015): “But I can see no justification for
12
     allowing this remote contingency to serve as an excuse for Dr. Golden to finagle his way
13
     out of his contract and deprive his lawyer of the fee he has earned” (Kozinski, dissenting).
14
            ¶ 91: “Subject to paragraph 25 of this Agreement and the Religious Freedom
15
     Restoration Act, disputes between the Parties concerning any alleged breach of this
16
     Agreement shall be subject to the following dispute resolution procedures.
17
            “c. If the dispute is not resolved by the Parties through mediation, either Party may
18
     apply to the U.S. District Court for relief, which shall retain jurisdiction solely for this
19
     purpose.”
20
            This provision is also governed by ¶ 86, which governs “any dispute” and further
21
     provides that “the Parties agree that jurisdiction is retained by and venue is proper in the
22
     United States District Court for the District of Arizona for its resolution.”
23
            The simple fact is that these three provisions are essential terms of this Settlement
24
     Agreement and without which the Parties have no settlement. It is, therefore, before the
25
     Court whether the Settlement Agreement is incorporated into an Order to ensure that the
26
     provisions relating to retention of jurisdiction and the other terms of the Agreement are
27
     enforceable by this Court, as the Parties have agreed. The Court has the power to adjudicate
28
                                                   6
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     disputed issues of fact relating to the settlement, such as whether there was a meeting of
 1
     the minds, whether the agreement was authorized, or whether grounds for rescission exist.
 2
     See Facebook, inc. v. Pac. Northwest Software, Inc., 640 F. 3d 1034, 1038 (9th Cir. 2014).
 3
            We respectfully request this Court to consider Saint John’s Organic Farm, 574 F.3d
 4
     at 1059, which was quoted with approval in this Court’s recent Order (Doc. 69, at 2). On
 5
     that same page the U.S. Court of Appeals for the Ninth Circuit observed: “First, we
 6
     conclude that the terms of the Agreement are judicially enforceable. The Agreement
 7
     specifically provided that its terms would be enforceable by the district court. Pursuant to
 8
     the Agreement, the district court’s order dismissing Dill’s complaint provided, ‘The Court
 9
     expressly retains jurisdiction over the matter for the purposes of (i) enforcing the
10
     Settlement Agreement entered into between the parties and the terms of the Settlement
11
     Agreement are incorporated herein by reference and (ii) deciding any applications for
12
     attorney fees and costs pursuant to 33 U.S.C. § 1365(d).’ Binding settlement agreements
13
     over which the district court retains jurisdiction to enforce are judicially enforceable.
14
     Richard S. [v. Dep’t of Developmental Servs.], 317 F. 3d [1080,] at 1088 [9th Cir. 2003].”
15
            The Settlement Agreement before the Court has the same provisions. Plaintiffs are
16
     now asking the Court to “place[] its stamp of approval on the relief obtained.” Carbonell,
17
     429 F. 3d 894, 901 (9th Cir. 2005).
18
            Plaintiffs request the Court to incorporate the Settlement Agreement into an Order.
19
     By doing so, breach of the Settlement Agreement violates the Court’s Order, thereby
20
     creating ancillary enforcement jurisdiction to enforce the Agreement. Kokkonen, 511 U.S.
21
     at 381; K.C. v. Torlakson, 762 F. 3d 963, 967 (9th Cir. 2014). Ancillary jurisdiction enables
22
     a federal court to “manage its proceedings, vindicate its authority, and effectuate its
23
     decrees.” Kokkonen, 511 U.S. at 379-80 (citing United States v. Hudson, 7 Cranch 32, 34
24
     (1812)).
25
            Retention of jurisdiction goes hand in hand with incorporation of the Settlement
26
     Agreement into an Order. When a district court has retained jurisdiction to enforce a
27
     Settlement Agreement, federal jurisdiction exists over either a motion to enforce the
28
                                                  7
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     settlement in the original action or a new federal action alleging breach of the Agreement.
 1
     Myers v. Richland County, 429 F. 3d 740, 747 (8th Cir. 2005); Montgomery v. Aetna
 2
     Plywood, Inc.231 F. 3d 399, 411 (7th Cir. 2000). The Court has power to order specific
 3
     performance of the Settlement Agreement. TNT Mktg. v. Agresti, 796 F. 2d 276, 278 (9th
 4
     Cir. 1986).
 5
     V.     CONCLUSION
 6
            In conclusion, Plaintiffs respectfully request this Court to give the intended effect
 7
     to the Settlement Agreement. It is clear that the Parties agreed that this Court would retain
 8
     jurisdiction to enforce the Agreement should mediation be unavailing. To effectuate
 9
     retention of jurisdiction, it is necessary for the Court to incorporate the Settlement
10
     Agreement into an Order. The Plaintiffs agreed to nothing less, and the Defendants should
11
     be held to the letter of the Agreement.
12
            Respectfully submitted this 12th day of August, 2024.
13
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     Case 2:22-cv-01004-SRB       Document 70        Filed 08/12/24   Page 15 of 15




 1                               CERTIFICATE OF SERVICE

 2         I hereby certify that on August 12, 2024, I electronically transmitted the attached

 3   document to the Clerk’s Office using the CM/ECF System for filing a copy to the following

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